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                         EXHIBIT 1
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                      __________
                                                     Western DistrictDistrict of __________
                                                                      of Virginia

                         Baby Doe et al.,                                     )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 3:22-cv-49
                       Joshua Mast et al.,                                    )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:                                                           Liberty University
                                    1971 University Blvd, Liberty University, Lynchburg, VA, 24515 - 0002
                                                       (Name of person to whom this subpoena is directed)

      ✔
      ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
               See Schedule A


 Place: Veritext                                                                        Date and Time:
          590 Neff Avenue, Suite 2000, Harrisonburg, VA 22801                                                03/31/2023 9:00 am

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        03/17/2023

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)   Baby Doe et al.
                                                                        , who issues or requests this subpoena, are:
Jeremy King, Esq., Hunton Andrews Kurth LLP, 200 Park Avenue, New York, NY 10116, 212-309-1369

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 3:22-cv-49

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                            SCHEDULE A

                                            DEFINITIONS

           For all Requests, the following definitions apply:

           1.     The definitions and instructions set forth in Federal Rule of Civil Procedure 34 are

 incorporated herein by reference.

           2.     “Liberty University” means Liberty University, including its undergraduate

 colleges, graduate schools and professional schools, headquartered at 1971 University Blvd.,

 Lynchburg, VA 24515.

           3.     “You” and “Your” means Liberty University, including but not limited to any

 present and former agents, and each Person acting or purporting to act on Liberty University’s

 behalf.

           4.     The term “all” shall mean all or any, and the term “any” means all or any.

           5.     The term “Communication” shall mean any disclosure, transmission, or exchange

 of information from one Person to another, including, without limitation, by personal meeting,

 telephone, facsimile, voicemail, electronic transmission, including email, and teleconference.

           6.     The term “Control” shall mean possession or custody, and includes control to the

 extent that You, Your attorneys, agents, or Representatives have a right to demand or compel

 production of the Document or Communication from a source with possession thereof.

           7.     The term “Document” shall be construed in its broadest sense in light of Federal

 Rule of Civil Procedure 34 and includes without limitation any written, printed, typed, recorded,

 electronic, or graphic matter of every type and description, however and by whoever prepared,

 produced, reproduced, disseminated, or made in any form, regardless of their origin or location,

 including, without limitation correspondence, email, memoranda, notes (including notes of any

 sort of conversations), diaries, statistics, letters, telegrams, speeches, drafts, electronic files,

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 spreadsheets, databases, records, minutes, contracts, reports, studies, checks, statements, receipts,

 returns, summaries, pamphlets, periodicals, notices, messages (including instant messages),

 instructions, work assignments, books, calendars, interoffice and intra-office communications

 (including, without limitation, email communications), agreements, leases, microfilm, circulars,

 notebooks, PowerPoint (or other like program) files and/or presentations, bulletins, printed matter,

 computer printouts, teletypes, facsimiles, drawings, sketches, worksheets of any of the foregoing,

 graphic or oral records or representations of any kind (including, without limitation, photographs,

 videotapes, motion pictures), and electronic, mechanical or electric recordings or representations

 of any kind (including, without limitation, tapes, cassettes and magnetic cards, disks and other

 recordings), and any other writings or sound recordings. The term “Document” includes each

 copy, version, or reproduction that is not identical to the original or any other produced copy

 whether different from the original by reason of any notation made on such copies or otherwise,

 and all associated metadata.

        8.      The term “Electronically Stored Information” or “ESI” refers to, without limitation,

 all electronic data (including reasonably accessible active, archival, or backup data, such as backup

 tapes, distributed data, electronic mail, forensic copies, metadata, and residual data) stored in any

 medium from which information can be reasonably obtained.

        9.      The term “each” shall mean all, each, and every.

        10.     The term “including” means “including but not limited to.”

        11.     The terms “Person” and “Entity” shall mean any natural Person or Persons and any

 other cognizable entity, including without limitation, corporations, proprietorships, joint ventures,

 partnerships, units, businesses, consortiums, clubs, associations, foundations, governmental




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 agencies or instrumentalities, societies, orders, any other form of business organization or

 arrangement, or any other form of public, private or legal entity.

        12.     The phrases “refer or relate to,” “referring or relating to,” “concern or concerning”

 and “comprise,” shall incorporate all information, Facts, and/or Documents that directly,

 indirectly, or in any other way support, negate, bear upon, touch upon, incorporate, affect, include,

 pertain to, and/or are otherwise connected with the subject matter about which a Request is being

 propounded. The phrases shall also mean containing, recording, discussing, mentioning, noting,

 summarizing, referring to, commenting upon, describing, digesting, reporting, listing, analyzing

 or studying the subject matter identified in a Request.

        13.     The term “Relevant Time Period” is from September 6, 2019, through the present.

        14.     The term “Representative” shall mean any agent, consultant, expert, attorney,

 contractor, or other Person engaged by the designated Person or Entity to perform some task or

 assignment for the Entity.

        15.     The singular form of any noun or pronoun includes the plural, and vice versa.

        16.     Terms in the present, imperfect, or past tenses each include the other tenses.

                                         INSTRUCTIONS

        1.       Unless otherwise specified, the time period covered by these Requests is the

 Relevant Time Period, or such other time period as the parties may later agree or the Court

 determines should apply.

        2.      In answering and responding to these Requests, You shall furnish information and

 Documents in Your possession, custody, or Control, Including information that is in the

 possession, custody, or Control of Your employees, agents, investigators, consultants,




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 representatives, attorneys (subject to any otherwise applicable privileges), assignors, or any other

 person within Your Control.

        3.      Your obligation to supplement and/or amend Your Responses to each of these

 Requests is continuing in character, requiring You to file supplemental responses should

 circumstances change, or should You acquire new or different information at any time during the

 pendency of the case.

        4.      All Documents that respond, in whole or in part, to any part or clause of any

 paragraph of these Requests shall be produced in their entirety, Including attachments, cover

 letters, memoranda, appendices, and enclosures. Documents that in their original condition were

 stapled, clipped, or otherwise fastened together shall be produced in such form so as to preserve

 their family relationship.

        5.      Each page of each Document shall bear a unique sequential number (i.e., a Bates

 number) that includes a symbol or abbreviation that identifies the producing party.

        6.      Any copies that differ in any way from the original (because, by way of example,

 handwritten or printed notations have been added) should be produced separately. All Documents

 that cannot be copied legibly shall be produced in original form.

        7.      In producing ESI or data in machine-readable form in response to any Request,

 provide such information or data in a form that is reasonably usable, Including at a minimum (i)

 Bates-numbered TIFF images of the ESI, (ii) searchable text of the ESI in a format compatible

 with industry-standard litigation-support applications, and (iii) a compatible load file. Produce

 Excel files, PowerPoint files, databases, and media files in their native forms. For all ESI produced,

 include for each item the metadata that can be reasonably extracted from the ESI. Hardcopy paper

 documents that can be copied legibly should be produced in an ESI format, by scanning the



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 documents, and should include for each such document extracted/OCR text data files using a

 scanning setting of at least 300 DPI. Unitization for any Documents You produce shall be

 maintained as it was in the original document.

        8.        For each Document, Including ESI, produced in response to these Requests,

 identify (i) the custodian of the Document, if collected from You, or (ii) the source of the

 Document, if obtained from a third party in the course of Your investigation, Including the name

 and address of the third party.

        9.        For any Document withheld under a claim of privilege, work product immunity, or

 some other privilege or immunity, provide a written statement or privilege log with sufficient detail

 to enable the claim of privilege or immunity to be adjudicated, Including:

                 The privilege, work product, or other basis for withholding the Document;

                 All persons making or receiving the Document;

                 The steps taken to ensure the confidentiality of the Document, Including

                  affirmation that no unauthorized persons have received the Document;

                 The date of the Document; and

                 The subject matter of the Document and the Request to which the Document is

                  responsive.

        10.       The words “any,” “and,” and “or” shall be construed either disjunctively or

 conjunctively as necessary to bring within the scope of the discovery all responses which might

 otherwise be construed to be outside its scope. Each of the following words includes the meaning

 of every other word: “each,” “every,” “all,” and “any.”




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                                     DOCUMENT REQUESTS

 REQUEST NO. 1

         Any Documents or Communications Relating to (a) a child recovered in Afghanistan by

 U.S. forces in a September 2019 military raid and/or Relating to that child’s relatives or

 caregivers and/or (b) a child purportedly adopted by Joshua Mast and Stephanie Mast.

 REQUEST NO. 2

         Any Documents or Communications Relating To efforts to remove a child, and/or that

 child’s relatives or caregivers, from Afghanistan between September 6, 2019, and February 26,

 2020.

 REQUEST NO. 3

         Any Documents or Communications Relating To custody and/or adoption proceedings

 over a child recovered in Afghanistan by U.S. forces in a September 2019 military raid.

 REQUEST NO. 4

         Any Documents or Communications Relating To any Person or Representative purporting

 to act on behalf of a child recovered in Afghanistan by U.S. forces in a September 2019 military

 raid, and/or purporting to be or act on behalf of that child’s relatives or caregivers.

 REQUEST NO. 5

         Any Documents Relating To or Communications with any of the following Persons or

 Entities Relating to (a) a child recovered in Afghanistan by U.S. forces in a September 2019

 military raid, and/or that child’s relatives or caregivers, and/or (b) a child purportedly adopted by

 Joshua Mast and Stephanie Mast:

         a.   Joshua Mast
         b.   Stephanie Mast
         c.   Richard Mast
         d.   Jonathan Mast

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       e.  Caleb Mast
       f.  Jacob Mast
       g.  Hannon Wright
       h.  Nastaran Morgan
       i.  Kyle Scheren
       j.  Brenda Maloney
       k.  Jerry Falwell, Jr.
       l.  Faculty, staff, or other Persons affiliated with Liberty University, including but not
           limited to the Office of Spiritual Development, Liberty University Serve, Liberty
           University Stages, Liberty University Send, Liberty University School of
           Government, Liberty University School of Nursing, and/or Liberty University School
           of Law
       m. Any Person serving on the board of, employed by, or purporting to represent the
           Southern Baptist Convention
       n. J.D. Greear
       o. Russell Moore
       p. Any person employed by or purporting to represent the Office of the President of the
           United States of America, including but not limited to Mick Mulvaney, Paul Teller,
           and/or Jenna Ellis
       q. Any person employed by or purporting to represent the Office of the Vice President
           of the United States of America, including but not limited to Sarah Makin and/or
           Nathanial Bennett
       r. Paula Pryor
       s. Ken Cuccinelli
       t. Scott Erickson
       u. Gary Bauer
       v. Ryan Newman
       w. Michael J Borders
       x. William D Taylor
       y. Norman West
       z. Michelle West
       aa. Daniel Lee
       bb. Any person employed by or purporting to represent the Office of Senator Ted Cruz,
           including but not limited to Garrett Exner, Christian Hoover, and/or Samantha Leahy
       cc. Any person employed by or purporting to represent the Office of Senator Tom Cotton
       dd. Any person employed by or purporting to represent the Office of the Attorney
           General for the Commonwealth of Virginia, including but not limited to Allyson
           Tysinger
       ee. Any person employed by or purporting to represent the Foundation for Defense of
           Democracies, including but not limited to Julia Schulman
       ff. Bill Roggio




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 REQUEST NO. 6

          Any Documents Relating To or Communications with Ahmad Osmani or Natalie

 Osmani.




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